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                          EXHIBIT F
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                                           NiggKike Bar Mitzvah - general
                            Sayer#5269/Sayer/Eli Mosley#5269 at 2017-03-22 20:42:55 +0000

 @<Convo#5941 > an hour after my video came out with the kike and the sign he commented on it with "Echo American?" I have
 the screen cap on my home PC
Sayer#5269/Sayer/Eli Mosley#5269
2017-03-22 20:42:55 +0000




                                                                                                                                 EXHIBIT

                                                                                                                             I
